                                                                                Case 3:17-cv-05211-WHA Document 197 Filed 11/20/17 Page 1 of 2



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                                                                          7                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                              THE REGENTS OF THE UNIVERSITY OF
                                                                              CALIFORNIA and JANET NAPOLITANO,
                               For the Northern District of California




                                                                         12   in her official capacity as President of the              No. C 17-05211 WHA
                                                                         13   University of California,                                 No. C 17-05235 WHA
                                                                                                                                        No. C 17-05329 WHA
                                                                         14                  Plaintiffs,                                No. C 17-05380 WHA
                                                                                                                                        No. C 17-05813 WHA
                                                                         15     v.

                                                                         16   UNITED STATES DEPARTMENT OF                               ONE-MONTH CONTINUANCE OF
                                                                              HOMELAND SECURITY and ELAINE                              DUE DATE FOR AUGMENTED
                                                                         17   DUKE, in her official capacity as Acting                  ADMINISTRATIVE RECORD AND
                                                                              Secretary of the Department of Homeland                   TEMPORARY STAY OF
                                                                         18   Security,                                                 DISCOVERY

                                                                         19                  Defendants.
                                                                                                                          /
                                                                         20
                                                                         21          After consideration of all briefing, the Court stands by its tentative order.

                                                                         22          The previous schedule is hereby modified to allow the government an additional month

                                                                         23   to compile and to file the augmented administrative record, which due date will now be

                                                                         24   DECEMBER 22, 2017, AT NOON. Although the government need not file until that date, it must

                                                                         25   promptly locate and compile the additional materials and be ready to file the fully augmented

                                                                         26   record by December 22, this caution being necessary in order to have a realistic opportunity to

                                                                         27   reach a final decision on the merits before the March 5 termination date. Additionally, all

                                                                         28   discovery is hereby STAYED until DECEMBER 22, 2017, AT NOON.
                                                                                Case 3:17-cv-05211-WHA Document 197 Filed 11/20/17 Page 2 of 2



                                                                          1          Meanwhile, we will proceed with the motion to dismiss and competing motion for
                                                                          2   provisional relief as scheduled. If the motion to dismiss is denied, then we will promptly set a
                                                                          3   practical schedule to reach the merits with the benefit of the augmented record.
                                                                          4          Except to the foregoing extent, both emergency motions for stay are DENIED.
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                                                                          7                  IT IS SO ORDERED.
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                                                                              Dated: November 20, 2017.
                                                                         10                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
                                                                         11
United States District Court
                               For the Northern District of California




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